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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

     Caption in Compliance with D.N.J. LBR 9004-2

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     Counsel
                                                            Case No. 23-12825 (MBK)
     In re:
                                                            Chapter 11
     LTL Management, LLC,1
                                                            Judge Michael B. Kaplan
                                     Debtor.

 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
 Street, New Brunswick, New Jersey 08933.
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     OBJECTION OF THE AD HOC COMMITTEE OF SUPPORTING COUNSEL TO
         MOTION TO TERMINATE THE DEBTOR’S EXCLUSIVE PERIOD

         The Ad Hoc Committee of Supporting Counsel (the “AHC of Supporting Counsel”), by

 and through its counsel, Paul Hastings LLP, Cole Schotz P.C., and Parkins & Rubio LLP, hereby

 submits this objection (the “Objection”) to the Motion of the Official Committee of Talc Claimants

 to Terminate the Debtor’s Exclusive Period Pursuant to 11 U.S.C. § 1121(d)(1) [ECF No. 702]

 (the “Motion”) filed by the Official Committee of Talc Claimants (the “TCC”), and in support of

 this Objection, the AHC of Supporting Counsel respectfully states as follows:

                                     PRELIMINARY STATEMENT2

         On May 16, 2023, in the course of denying many unique forms of relief sought by the TCC

 in a long series of motions, this Court expressed that it would be receptive to hearing arguments

 on whether to terminate the Debtor’s exclusivity.3 While the AHC of Supporting Counsel4

 recognizes the challenges that this Chapter 11 Case presents, the AHC of Supporting Counsel

 respectfully submits that terminating exclusivity at this time will not facilitate a resolution to the

 issues the Debtor is facing in this Chapter 11 Case. To the contrary, it will create a confusing

 dynamic, whereby the TCC will propose a plan or plans that are not confirmable and will distract

 the parties in interest from finalizing on voting on an amended version of the current plan on file,

 (as may be amended or modified, the “Plan”).5 The Plan provides a viable path to confirmation

 and momentum is building in support of the plan. Therefore, the prudent decision at this stage is


 2
   Capitalized terms used but not defined in this introductory section have the meanings given below.
 3
   This Court did not, as the TCC improperly suggests, express a desire to “preview” any competing plan filed by the
 TCC.
 4
   The AHC of Supporting Counsel is comprised of law firms, including two former representative firms of members
 of the Official Committee of Talc Claimants in the first bankruptcy case filed by the Debtor, representing more than
 58,000 talc claimants in the Chapter 11 Case, thousands of whom commenced lawsuits against the predecessor of the
 Debtor and its affiliates, including Johnson & Johnson, prior to the commencement of the first bankruptcy case. See
 Verified Statement of Paul Hastings LLP, Cole Schotz P.C. and Parkins & Rubio LLP Pursuant to Bankruptcy Rule
 2019 [ECF No. 470].
 5
   See Chapter 11 Plan of Reorganization of LTL Management LLC [ECF No. 525].

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 to deny the Motion and allow the Debtor to continue negotiations and mediation with the TCC and

 other stakeholders.

        Further, terminating the Debtor’s exclusivity at this time is not justified, as the TCC makes

 no showing that would warrant such relief. There are no plausible allegations of a lack of

 disinterestedness, gross mismanagement, or manipulation of the bankruptcy process—i.e., the kind

 of allegations that, if proven, serve as the basis to appoint a trustee. In addition, the factors that

 courts consider when determining whether to extend or reduce exclusivity for “cause” weigh in

 favor of denying the Motion.

        Congress created an exclusive right for debtors to propose and prosecute their own plans

 for a certain period of time. There is a strong presumption, supported by an important public

 policy, that, absent truly extraordinary, egregious circumstances, the Debtor is entitled to have “the

 first shot” at negotiating, formulating, and attempting to confirm a plan, and the terms of such plan

 are appropriately left to the Debtor’s business judgment. It is the TCC’s burden to show cause for

 termination, but it has failed to meet its burden. The analysis for terminating exclusivity weighs

 heavily in favor of denying the Motion.

        What is more, the competing plan that the TCC claims it is ready to “unveil” is not

 confirmable. It is structured as the functional equivalent of a dismissal of this Chapter 11 Case.

 While the TCC has not yet provided specific details of its plan (which raises doubts about the

 viability of any such plan), the limited details gleaned from the Motion suggest that the TCC

 contemplates a plan that would require the Debtor and its affiliates to fund a trust for the benefit

 of talc claimants and, at the same time, allow each and every talc claimant to pursue the Debtor

 and its affiliates in the tort system. Not only would such plan lack the requisite funding to be

 viable, it disregards the available statutory tools enacted by Congress to fairly and equitably



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 resolve these mass tort claims. Granting the Motion will put an end to any prospect of mediation

 and will incentivize stakeholders to go to their respective corners to devise alternative competing

 plans—an outcome that will result in additional delay and litigation to the detriment of all

 stakeholders.

        The Bankruptcy Code provides for a balancing of interests designed to promote a

 negotiated plan process. The Plan, which has the support of a majority of the creditors in the case,

 reflects the results of such a negotiated plan process. The Plan establishes a framework to continue

 to build consensus among all the stakeholders through negotiation and mediation during the

 Debtor’s exclusivity period.

        To date, the TCC has refused to engage in productive discussions resolving its issues with

 the Plan. Instead, the TCC balks at any process under which it does not wrest absolute control,

 and it attributes nefarious motives to the legitimate exercise by the Debtor of its statutory right to

 direct the process. The TCC should not be rewarded with termination of exclusivity for its refusal

 to participate constructively in this Chapter 11 Case.

        The real driving force for seeking to file a competing plan is the TCC’s conviction that any

 such plan would be “better” than the Plan that memorializes the settlement set forth in the plan

 support agreements. This is laid bare in the Motion, where the TCC states that it “cannot stand

 idly by while the Debtor attempts to confirm a plan.” Motion at ¶2. Stated differently, the TCC’s

 fear is not that the Plan is not confirmable. The TCC’s real fear, as tacitly stated in the above line

 from the Motion, is that the Plan is in fact confirmable.

        Termination of exclusivity is neither warranted by law nor appropriate under the

 circumstances of this Chapter 11 Case. The Motion shall be denied.




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                                                   ARGUMENT

          1.        The exclusivity period is a statutory time period afforded solely to the Debtor under

 section 1121(b), subject to reduction or extension for “cause” under section 1121(d). 11 U.S.C. §

 1121. The exclusivity period grants the Debtor the unqualified and exclusive right to file and

 solicit acceptances of a plan, providing the Debtor with a critical breathing spell, free of creditor

 interference. See H.R. Rep. No. 595, 95th Cong., 2d Sess. 221-222 (1978); In re Geriatrics

 Nursing Home, Inc., 187 B.R. 128, 131 (D.N.J. 1995) (“The exclusivity period affords the debtor

 the opportunity to negotiate the settlement of its debts by proposing and soliciting support for its

 plan of reorganization without interference—in the form of competing plans—from its creditors

 or others in interest.”).

          2.       A party in interest seeking to terminate exclusivity “bears a heavy burden” of proof

 to establish “cause.” Geriatrics Nursing Home, 187 B.R. at 132; In re Lehigh Valley Professional

 Sports Club, Inc., No. 00-11296DWS, 2000 WL 290187, at *2 (Bankr. E.D. Pa. Mar. 14, 2000)

 (emphasizing that “the burden is especially heavy”). That burden is even heavier when termination

 is sought during the initial exclusivity period.6 See In Matter of Excel Mar. Carriers Ltd., No. 13-

 23060-RDD, 2013 WL 5155040, at *1 (Bankr. S.D.N.Y. Sept. 13, 2013) (explaining that

 “terminating exclusivity—particularly during the initial exclusivity period is an extraordinary

 thing in a bankruptcy case”).




 6
  Without citing any authority, the TCC takes the position that the Debtor is no longer in its initial exclusivity period
 because this Chapter 11 Case is not the Debtor’s first bankruptcy filing. This is not the law. As the Bankruptcy Code
 makes clear, Congress knew how to modify statutory time periods to account for multiple bankruptcy filings by the
 same debtor. See, e.g., 11 U.S.C. § 362(c)(3) and (4) (limiting the effect of automatic stay); § 727(a)(8) (limiting
 bankruptcy discharge). Congress for good reason did not do so under section 1121(b).

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     I.   Termination of Exclusivity is Justified Only Where the Debtor Has Created a Major
          Obstacle to a Successful Restructuring.

          3.      For starters, the entire thrust of section 1121(b) is to drive the restructuring process

 toward consensus by channeling negotiations through the debtor, as a steward for the bankruptcy

 estate, tasked with negotiating with key constituents. This right is the debtor’s own—it is the

 “shield of exclusivity” that is contemplated under the Bankruptcy Code. In re Eagle-Picher Indus.,

 Inc., 176 B.R. 143, 148 (Bankr. S.D. Ohio 1994). The TCC’s argument for a “level playing field”

 is not only fundamentally flawed,7 but also contradicts considerations that serve as the bedrock of

 the Bankruptcy Code. See id. (expressly rejecting the argument that “a level playing field was

 what was contemplated by the Bankruptcy Code”). Congress decided when enacting section

 1121(b) of the Bankruptcy Code that the debtor is best suited to orchestrate a reorganization

 process and should therefore have “a clear advantage early on in the case, unfettered by competing

 plans.”8 In re Temple Retirement Cmty., Inc., 80 B.R. 367, 369 (Bankr. W.D. Tex. 1987); In re

 Newark Airport Hotel Ltd. P’ship, 156 B.R. 444, 451 (Bankr. D.N.J. 1993) (“The purpose of the

 debtor's exclusivity period is to make a chapter 11 filing attractive enough to encourage ailing

 businesses to seek reorganization without unduly delaying creditors.”).

          4.      To that end, only the most extraordinary circumstances justify the termination of

 exclusivity. One court thoroughly examined these circumstances:

                  Usually—and it’s hard to say “usually” because there are not that
                  many published opinions where exclusivity is terminated during the
 7
   The Motion just assumes that it is somehow unfair for the Debtor to solicit its own Plan unless the TCC can solicit
 its competing Plan. See Motion at ¶10 (“[I]f LTL is allowed by this Court to move forward with its plan and a vote .
 . . then the TCC should”). The TCC goes so far as to describe the plan process as an “election” that is open to any
 “candidate” that is capable of proposing any plan, however unconfirmable, to be solicited alongside the plan proposed
 by the Debtor during its exclusive period. Id. at ¶11. According to the TCC, the claimants “deserve a choice” and a
 competing plan is the only way to avoid a “rigged election.” Id. The TCC does not and cannot cite any authority here
 because its positions, most notably the need to “level[] the playing field,” have already been uniformly rejected by
 courts. Id. at ¶14; see also Eagle-Picher Indus., Inc., 176 B.R. at 148.
 8
   As recently as 2005, Congress confirmed that, absent extraordinary circumstances, the debtor enjoys exclusivity for
 up to eighteen months. See Bankruptcy Abuse Prevention and Consumer Protection Act of 2005, Pub. L. No. 109-9,
 §411, 119 Stat. 23, 106-107.

                                                          6
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                  initial exclusive periods—the periods are terminated because of
                  some conduct by the debtor that is short of conduct that would
                  justify the appointment of a trustee (where the statute provides that
                  the exclusive period is terminated automatically), but, still, troubling
                  conduct, for example where the debtor appears to be unable to
                  negotiate a plan because of internal conflicts, or is mismanaging the
                  bankruptcy case short of the need to replace management, or is
                  otherwise using exclusivity in a way that Congress didn’t
                  contemplate when it gave debtors in possession the exclusive time
                  to propose and obtain confirmation of a plan.

 Excel Mar. Carriers, No. 13-23060-RDD, 2013 WL 5155040, at *1. The remedy of termination

 is reserved for rare situations in which, for example, a debtor’s plan “does not offer any serious

 reorganizational possibilities” or where the debtor has engaged in “gross mismanagement.” See

 In re Grossinger’s Assocs., 116 B.R. 34, 36 (Bankr. S.D.N.Y. 1990); see also In re Texaco Inc.,

 81 B.R. 806, 812 (Bankr. S.D.N.Y. 1988).

         5.       The TCC bears a heavy burden of proof to demonstrate these extraordinary

 circumstances and gross mismanagement of this Chapter 11 Case. To no surprise, the TCC is

 unable to meet this burden, and tellingly, offers no evidence whatsoever to support any allegation

 that the Debtor has mismanaged the bankruptcy case in any way, let alone in an egregious manner

 as the law requires. Instead, the TCC relies on unsupported allegations that accuse the Debtor of

 “trying to stuff the ballot box”9 and takes issue with the J&J–Debtor governance structures that

 are present in almost any organizational structure.

         6.       Put simply, the types of egregious debtor conduct that justifies terminating

 exclusivity are not even remotely present here. The Debtor engaged extensively with the many

 major constituencies in this Chapter 11 Case, and those efforts culminated in a deal that has broad

 support from the tens of thousands of claimants represented through the AHC of Supporting


 9
   Motion at ¶24. Like most of the TCC’s repeated positions, these allegations were already addressed in responses to
 the many pleadings filed by the TCC. See, e.g., Omnibus Objection of the Ad Hoc Committee of Supporting Counsel
 to Motions to Dismiss [ECF No. 613] at ¶33-43.

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 Counsel. Maintaining exclusivity ensures that the Debtor remains at the center of its Plan

 negotiations and invites the TCC and other constituents to present the Debtor with proposals for

 modifications or otherwise negotiate terms of the Plan.

  II.     Creditor Angst and “Better” Plan Options Are Irrelevant.

          7.       The TCC seemingly argues that creditor dissatisfaction is a sufficient basis to

 terminate exclusivity. None of the exclusivity factors has anything to do with a creditor’s views

 on the Plan.       Dissatisfaction with a debtor’s plan, the breakdown of negotiations, and the

 availability of better plans with “superior recoveries” do not justify termination. See In re Adelphia

 Commc’ns Corp., 336 B.R. 610, 676 (Bankr. S.D.N.Y. 2006) (explaining that “the notion that

 creditor constituency unhappiness, without more, constitutes cause to undermine the debtor’s

 chances of winning final confirmation of its plan during the exclusivity period has been judicially

 rejected”); In re Energy Conversion Devices Inc., 474 B.R. 503, 508 (Bankr. E.D. Mich. 2012)

 (explaining that creditors being “prepared to offer more favorable plans if the court were to

 terminate the exclusivity period . . . does not constitute sufficient cause to cut short the debtor’s

 window of opportunity opened by Congress”); Excel Mar. Carriers, No. 13-23060-RDD, 2013

 WL 5155040, at *1 (“The mere fact that key players want to file a competing plan is not sufficient

 cause to terminate a debtor’s exclusive periods.”). The policy to keep the Debtor in control is so

 firmly established that the Debtor need not even prosecute the “best” plan. See In re Express One

 Int’l, Inc., 194 B.R. 98, 101 (Bankr. E.D. Tex. 1996) (finding it is not relevant “whether some

 other plan may exist which provides greater recovery”).10

          8.       Further, the TCC appears to argue that “cause” turns on whether the Debtor has

 made progress in negotiations with the TCC. That is not and cannot be the test. “To hold otherwise


 10
  Accordingly, the TCC’s attempt to extract a rule that claimants must be permitted to vote on “the best plan available”
 must fail. See Motion at ¶36.

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 would permit litigious creditors to manufacture ‘cause’ to shorten the exclusivity period through

 their own unilateral actions.” Lehigh Valley Professional Sports Club, No. 00-11296DWS, 2000

 WL 290187, at *4. In this Chapter 11 Case, it is the TCC’s refusal to constructively engage that

 has stalled progress with the TCC. Instead of rewarding the TCC for that conduct, this Court

 should deny the Motion, which will hopefully motivate the TCC to resolve its issues through

 negotiation and not litigation.

        9.      The TCC hardly disguises its true reasons for seeking to terminate exclusivity: to

 ensure that the Debtor and its affiliates “no longer have exclusive control of the case.” See Motion

 at ¶31. That, of course, is not supported by the law and ignores the significant progress that the

 Debtor has made since commencing this Chapter 11 Case—progress that was achieved even in the

 face of the TCC’s litigious posture. Granting the Motion would provide the TCC the de facto right

 to manufacture “cause” for termination of exclusivity through refusal to constructively participate

 in the bankruptcy process.

 III.   The Exclusivity Factors Overwhelmingly Support Continued Exclusivity.

        10.     Although the Bankruptcy Code does not define what constitutes “cause” under

 section 1121(d), courts often apply the same factors that are considered when deciding whether to

 terminate exclusivity: (1) the size and complexity of the case; (2) the necessity of sufficient time

 to permit the debtor to negotiate a plan of reorganization and prepare adequate information; (3) the

 existence of good faith progress toward reorganization; (4) the fact that the debtor is paying its

 bills as they become due; (5) whether the debtor has demonstrated reasonable prospects for filing

 a viable plan; (6) whether the debtor has made progress in negotiations with its creditors; (7) the

 amount of time which has elapsed in the case; (8) whether the debtor is seeking an extension of

 exclusivity in order to pressure creditors to submit to the debtor's reorganization demands; and



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 (9) whether an unresolved contingency exists. In re Dow Corning Corp., 208 B.R. 661, 664-65

 (Bankr. E.D. Mich. 1997); Adelphia, 336 B.R. at 674. In evaluating these factors, the concept of

 “cause” should be viewed flexibly in order to allow the debtor to reach an agreement. See H.R.

 Rep. 595, 95th Cong., 2nd Sess. 232 (1978). The decision is left to the sound discretion of a

 bankruptcy court, based on the totality of circumstances presented in each case. See Geriatrics

 Nursing Home, 187 B.R. at 132.

        11.      Even a cursory analysis of the exclusivity factors shows that the TCC cannot

 possibly carry this heavy burden, especially at this early stage of this Chapter 11 Case. What is

 more, the factors actually cut in favor of preserving (or even extending) the Debtor’s exclusivity.

              a. Size and Complexity (Factor 1); Necessity of Time to Negotiate (Factor 2)

        12.      The first two factors go hand in hand, and each cuts in favor of the Debtor. The

 Debtor filed for bankruptcy relief in order to resolve the tens of thousands of talc claims through

 the Plan, which, if confirmed, would constitute the largest settlement in any asbestos bankruptcy

 case, and one of the largest settlements of personal injury claims in U.S. history. The Plan would

 deliver $8.9 billion in net present value to those suffering from diseases caused by their use of the

 talc products. The Debtor is continuing to engage with the AHC of Supporting Counsel and other

 key stakeholders in order to achieve full consensus for the Plan.

        13.      Given the size and complexity of this Chapter 11 Case, as well as the tens of

 thousands of tort actions faced by the Debtor, it is critical that the Debtor be given time to seek

 confirmation of its Plan. See In re R & G Props., Inc., No. 09-10876, 2009 WL 269696 at *1

 (Bankr. D. Vt. Jan. 28, 2009) (“The Court finds that the amount, contentiousness, and nature of




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 the litigation in this case, compressed as it was into a very short time, makes this first factor

 relevant and causes it to weigh in favor of an extension of time.”).11

                b. Good-Faith Progress (Factors 3 and 6)

          14.      The third and sixth factors weigh heavily in favor of maintaining exclusivity. Less

 than six weeks after filing this Chapter 11 Case, the Debtor filed the Plan that it proclaims would

 resolve all current and future talc claims in a fair and equitable manner. The settlement under the

 Plan, once finalized, has support from the AHC of Supporting Counsel, which represents the

 majority of talc claimants in this Chapter 11 Case. And, the AHC of Supporting Counsel believes

 additional parties will end up supporting the Plan as we progress toward a confirmation hearing.

 This is precisely what “good faith progress” looks like under the third and sixth exclusivity factors.

 “Progress” does not mean “full agreement,” but narrowing issues in good faith, which is what the

 Debtor has done.12

          15.      Even if the negotiation efforts for the Plan ultimately were to fail, that is not, in and

 of itself, a reason to terminate exclusivity.13 The TCC should not be permitted to point to its own

 intransigency and unwillingness to be constructive as a basis to terminate exclusivity.




 11
    The Motion misplaces reliance on In re GMG Capital Partners III, L.P., 503 B.R. 596, 600-01 (Bankr. S.D.N.Y.
 2014). There, the debtors were using the shield of exclusivity as a means to buy time for market forces to one day
 drive up the value of its speculative investment in a technology company. And, the exclusivity dispute there was
 brought to the court at the end of the initial exclusivity period. It is not entirely clear how the TCC finds GMG helpful
 to its position—what is clear is that GMG is a factually-distinguishable case that has no similarities to this Chapter 11
 Case.
 12
    To be sure, good faith progress would be more productive if the TCC was willing to engage constructively.
 13
    The issues expressed by the TCC in the Motion to justify the rarely-granted remedy of termination of exclusivity
 are actually confirmation issues, which should not be litigated in the context of an exclusivity motion. See In re
 Adelphia Commc'ns Corp. (“Adelphia II”), 352 B.R. 578, 588 n.18 (Bankr. S.D.N.Y. 2006) (explaining that “the
 merits of the plan are to be examined at confirmation and don’t play a meaningful role in the court’s decision as to
 whether or not to terminate exclusivity”). The AHC of Supporting Counsel hesitates to follow the TCC down this
 rabbit hole, especially because the AHC of Supporting Counsel already responded to these points in other pleadings
 filed in this Chapter 11 Case. See, e.g., Ad Hoc Committee of Supporting Counsel’s Reply and Statement in Support
 of the Scheduling Motion [ECF No. 498]. After all, the only relevant question is whether the TCC has met its “heavy
 burden” to show cause for terminating exclusivity. The factors’ analysis clearly shows that the TCC has not.

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                c. Reasonable Prospects (Factor 5)14

          16.       This factor does not support terminating exclusivity. The bankruptcy process is

 iterative and often produces the best outcomes when key stakeholders have the opportunity to

 reach consensus and compromise. The Plan that is on file is the best path to reaching consensus

 and promoting compromise.

          17.       Rather than attempting to reach consensus, the TCC has presented objections on

 the same speculative and unsupported grounds upon which it has attacked every move by the

 Debtor and the AHC of Supporting Counsel. The Motion reads like a merit brief against plan

 confirmation, focusing almost entirely on the legally and factually unsupported (and

 unsupportable) position that the Plan cannot be confirmed on the merits. Even if the Court were

 to agree—which it should not—the Debtor would still have the exclusive right to engage with

 stakeholders and further modify the Plan, saving the estate time and money and obviating the need

 to start from “square one.”

          18.       Either the Plan is “viable” and will proceed toward confirmation; or it is not, and

 the Debtor should be given an opportunity, at least during its initial exclusivity period, to modify

 the Plan to address any issues this Court or any other stakeholders may have regarding its

 “viability.” See Adelphia II, 352 B.R. at 588 (“This factor requires only that a debtor be able to

 attain confirmation of at least some viable plan, not necessarily the plan currently proposed.”).

 With the support of the AHC of Supporting Counsel, the Plan is reasonably likely to be finalized

 and confirmed.




 14
    As an initial matter, the Plan is on file and therefore the focus here is on the Plan’s viability, not on the prospect of
 filing a plan. See Adelphia II, 352 B.R. at 588.

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               d. Pressuring Creditors (Factor 8)15

         19.      Far from pressuring creditors by stalling behind the safeguards of exclusivity, the

 Debtor has diligently and collaboratively worked to advance this Chapter 11 Case. The momentum

 that began building in negotiating the plan support agreements, now mostly memorialized in the

 Plan, continues to build as the Debtor is as close as it has ever been to resolving the remaining

 Plan issues. Based on the Debtor’s track record to date, the Debtor has earned the opportunity to

 do so without the threat of competing plans being filed that will only serve to complicate this

 Chapter 11 Case, confuse tens of thousands of claimants, create more needless litigation, and

 destroy stakeholder value.          See R & G Props., No. 09-10876, 2009 WL 269696, at *3

 (“Encouraging creditors to mediate differences and negotiate the terms of the plan is a salutary

 effort that is wholly consistent with how chapter 11 should work; it does not constitute what this

 Court finds to be an effort to pressure creditors to submit to the debtor's reorganization demands.”)

 (internal quotations omitted).

         20.      It is the TCC’s burden to show that these factors weigh in favor of terminating

 exclusivity, but it has failed to meet that burden. The factors heavily weigh in favor of preserving

 the Debtor’s exclusivity period.

 IV.     The Plan Creates the Framework to Achieve Consensus.

         21.      The Plan serves as a platform to negotiate, build consensus, and seek to gain support

 for a comprehensive reorganization that will generate the greatest overall value for all constituents.

 The claimants are aggrieved victims, and it is not surprising that there has been substantial

 disagreement in Plan negotiations. Nevertheless, the Plan serves as an important framework (1) to

 negotiate with the TCC and all other stakeholders and (2) to identify differences that can be


 15
    As an initial matter, the Debtor is not, at this time, seeking an “extension of exclusivity,” but simply opposing
 termination of its initial, statutorily provided exclusivity period.

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 reconciled and common ground for agreement on substantial, and hopefully all, issues in an effort

 to achieve unanimous support for the Plan. That is exactly what exclusivity is intended to foster.

        22.     While the TCC continues to be vocal about its opposition to the Plan (since even

 before it saw the Plan), curiously, it also continues to refuse to provide any counterproposal,

 commentary, or other feedback. Usually a motion to terminate exclusivity describes the movant’s

 efforts to resolve plan-related issues, the failure of those efforts, and the alternative proposals

 offered by the movant. That is far from what is in the Motion, which only provides subtle hints

 about the purportedly “superior” plan that the TCC claims it is ready to file. As discussed above,

 the Debtor is negotiating with stakeholders and has established a framework to facilitate

 consensus. It is the TCC that refuses to come to the table. Terminating exclusivity will end any

 possibility of productive plan negotiations and will only cause stakeholders to harden their

 positions and move forward with competing plans to the detriment of all stakeholders. Maintaining

 exclusivity is warranted and necessary to further the Bankruptcy Code’s policy of encouraging

 consensual plans.

  V.    Terminating Exclusivity Would Not Move the Bankruptcy Case Forward.

        23.     “[T]he primary consideration for the court in determining whether to terminate the

 debtor’s exclusivity is whether its termination will move the case forward.” Adelphia II, 352 B.R.

 at 590. “[C]ontext is what is most important and . . . [is] the ultimate consideration.” Excel Mar.

 Carriers, No. 13-23060-RDD, 2013 WL 5155040, at *2.

        24.     Putting things into context here, the Debtor and the AHC of Supporting Counsel

 reached an agreement to permanently, equitably, and efficiently resolve all talc claims. The

 breadth of support validates the Plan and provides a clear path toward a prompt resolution of this

 Chapter 11 Case. That is a critical milestone that will allow claimants to be compensated for their



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 injuries expeditiously. The Debtor is ready to move the plan confirmation process forward and

 allow claimants to vote on the Plan. Terminating exclusivity in the face of such progress would

 delay this case, not move it forward. See Adelphia II, 352 B.R. at 590.

        25.     Preserving exclusivity would ensure that this Chapter 11 Case does not turn into a

 chaotic and costly competing plan process, which would be a particularly poor outcome, given the

 broad support for the Plan and the prospect for other parties to join in that support through the

 ongoing mediation. A competing plan process would certainly put an end to ongoing mediation

 and rule out the prospect of any consensual outcome. Now is the time to allow the Plan to move

 forward without the interference and confusion caused by a competing plan.

                WHEREFORE, the AHC of Supporting Counsel respectfully requests that this

 Court deny the Motion and grant such other and further relief as this Court finds just and

 appropriate.

 Dated: June 12, 2023                         COLE SCHOTZ P.C.


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